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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   NO. 4:14CR00191 JLH

JEFFERY L. WEAVER,
BRIAN L. MAHANEY,
RICHARD BRIAN REYNOLDS,
NATHAN LESTER RAMER,
CHARLES NEIL WEAVER,
MEGAN RILEY OXLEY, JAMES
ZACHARY CALDWELL, ISAAC
M. JAUREGUI, MICHAEL ALLEN,
JENNIFER JAMES, JEREMY LEE
PECK, SORRELL JOE HONEA, JR.,
RICHARD JOE LEE, LOUIS MICHAEL
TICHELI, CRYSTAL MICHELLE
LANGRELL, FRED HAROLD WESSELL,
JOHN B. BLACK, DAVID WAYNE
HEASLET, THURMAN KIRKENDOLL,
JEREMY DALE DUNIGAN, DEREK
CHARLES STILL, CYRUS ADRIAN
DOWELL, MARNI LEIGH CHAGALA,
JERALD GLENN BELL, AMBER SUE
THARP, MICHAEL RAMER, JANEL
DAWN HATCHETT, HIRO SASAKI,
and DON ALLEN PEARSON                                                              DEFENDANTS

                                             ORDER

       Pending before the Court is the motion to continue the trial of this matter filed by defendant

Crystal Michelle Langrell. Document #58. The Court has determined that due to the number of

defendants and attorneys involved in this case the most efficient manner of which to handle the

motion to continue will be to establish a deadline for any defendant opposing the motion to file a

response in opposition.
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       IT IS THEREFORE ORDERED that any defendant opposing the motion to continue must

file a response in opposition on or before OCTOBER 17, 2014. It will not be necessary for any

defendant who supports the motion to continue to respond.

       The Court will assume that any defendant who does not file a response in opposition of the

motion on or before October 17, 2014, joins in the motion to continue and waives Speedy Trial

requirements up to and including the next scheduled trial date.

       IT IS SO ORDERED this 2nd day of October, 2014.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
